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          Exhibit 1




          Exhibit 1
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From:            Ehrlich, Stephen (CIV)
To:              "John.Freedman@arnoldporter.com"; "DHo@aclu.org"; "SBrannon@aclu.org"; "PGrossman@nyclu.org"; "Bauer,
                 Andrew"
Cc:              Bailey, Kate (CIV); Coyle, Garrett (CIV); Federighi, Carol (CIV); Halainen, Daniel J. (CIV); Kopplin, Rebecca M.
                 (CIV); Tomlinson, Martin M. (CIV); "Goldstein, Elena"; "Colangelo, Matthew"; "Saini, Ajay"
Subject:         RE: NYIC v. U.S. Dep"t of Commerce, 18-cv-5025
Date:            Thursday, August 16, 2018 10:19:00 AM


Counsel,
 
I’m following up on the below.  Please confirm that you represent these individuals and, if not,
please provide names, personal addresses, and contact information so they may be properly served.
 
Thanks,
 
Stephen Ehrlich
Trial Attorney
U.S. Department of Justice
Civil Division | Federal Programs Branch
202-305-9803 | stephen.ehrlich@usdoj.gov
 
From: Ehrlich, Stephen (CIV)
Sent: Monday, August 13, 2018 9:00 AM
To: 'John.Freedman@arnoldporter.com' <John.Freedman@arnoldporter.com>; 'DHo@aclu.org'
<DHo@aclu.org>; 'SBrannon@aclu.org' <SBrannon@aclu.org>; 'PGrossman@nyclu.org'
<PGrossman@nyclu.org>; 'Bauer, Andrew' <Andrew.Bauer@arnoldporter.com>
Cc: Bailey, Kate (CIV) <katbaile@CIV.USDOJ.GOV>; Coyle, Garrett (CIV) <gcoyle@CIV.USDOJ.GOV>;
Federighi, Carol (CIV) <CFederig@CIV.USDOJ.GOV>; Halainen, Daniel J. (CIV)
<dhalaine@CIV.USDOJ.GOV>; Kopplin, Rebecca M. (CIV) <rkopplin@CIV.USDOJ.GOV>; Tomlinson,
Martin M. (CIV) <mtomlins@CIV.USDOJ.GOV>; 'Goldstein, Elena' <Elena.Goldstein@ag.ny.gov>;
'Colangelo, Matthew' <Matthew.Colangelo@ag.ny.gov>; 'Saini, Ajay' <Ajay.Saini@ag.ny.gov>
Subject: NYIC v. U.S. Dep't of Commerce, 18-cv-5025
 
Counsel,
 
We anticipate serving Rule 45 subpoenas on four members of Make the Road New York: Perla Lopez,
Yatziri Tovar, Marlenis de los Santos, and Alejandra Martin.  See NYIC, et al. v. U.S. Department of
Commerce, et al., Dkt. No. 18-cv-5025 (S.D.N.Y.), ECF No. 49-3.  Please confirm that you represent
them and are authorized to accept service of these subpoenas on their behalf.  Otherwise, please
provide personal addresses and contact information for these individuals so they may be properly
served.
 
Additionally, please identify the full names of the following individuals:
    ·     Members of the American-Arab Anti-Discrimination Committee referenced at ¶¶ 17–19 of
         the Ayoub Declaration.  See NYIC, et al. v. U.S. Department of Commerce, et al., Dkt. No. 18-
         cv-5025 (S.D.N.Y.), ECF No. 49-1.
    ·     Members of CASA de Maryland, Inc. with the initials “A.A.”, “E.R.”, and “M.L.D.” referenced
         at ¶¶ 8, 16–18 of the Escobar Declaration.  See NYIC, et al. v. U.S. Department of Commerce,
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       et al., Dkt. No. 18-cv-5025 (S.D.N.Y.), ECF No. 49-2.
We anticipate serving Rule 45 subpoenas on these individuals; please confirm that you represent
them and are authorized to accept service of these subpoenas on their behalf.  Otherwise, please
provide personal addresses and contact information for these individuals so they may be properly
served.
 
Thanks,
 
Stephen Ehrlich
Trial Attorney
U.S. Department of Justice
Civil Division | Federal Programs Branch
202-305-9803 | stephen.ehrlich@usdoj.gov
 
